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                 Supreme Court of the United States
                        Office of the Clerk
                    Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                 November 15, 2021


   Clerk
   United States Court of Appeals for the Eleventh
   Circuit
   56 Forsyth Street, N.W.
   Atlanta, GA 30303


         Re: Norris Williams
             v. United States
             No. 21-5963
             (Your No. 20-14588)


   Dear Clerk:

         The Court today entered the following order in the above-entitled case:

         The petition for a writ of certiorari is denied.



                                           Sincerely,




                                           Scott S. Harris, Clerk
